STANFORD

UNIVERSITY

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June 10, 2019
Via ECF

The Honorable Rya W. Zobel

Senior United States District Court Judge
United States District Court

District of Massachusetts (Boston)

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210

Re: United States v. Vandemoer, Case No. 1:19-cr-10079-RWZ-1
Your Honor:

This victim impact statement is respectfully submitted on behalf of Stanford
University (“Stanford”) in connection with the sentencing of former Stanford Sailing Team
Coach John Vandemoer, scheduled for June 12, 2019. Stanford terminated Mr. Vandemoer’s
employment on March 12, 2019, the day he pleaded guilty to federal criminal charges relating to
his subversion of Stanford’s admissions process with consultant Rick Singer.

Stanford’s rigorous, holistic admissions process is vital to its mission and
reputation and it is dependent on the veracity of the information submitted by and on behalf of
the applicants. Mr. Singer and Mr. Vandemoer attempted to undermine Stanford’s admissions
process by providing recommendations for certain students as recruited athletes for the sailing
team based on fabricated athletic abilities in return for donations to the sailing team. Their
actions undermined public confidence in the college admissions system and reflected negatively
on Stanford and its hard-working, honest student-athletes. Mr. Vandemoer’s conduct also was
wholly antithetical to Stanford’s core values. All members of our community are required to
conduct themselves with the “utmost honesty, accuracy and fairness” and to uphold the “high
ethical standards” of the university.' Mr. Vandemoer’s actions in this matter are profoundly
disappointing and especially so as he had a reputation of caring deeply about his student-athletes.

In addition, Stanford has incurred significant out-of-pocket costs in addressing
this matter, as well as time and diversion from the University’s core academic activities. While
no applicants to Stanford were actually admitted through this scheme, in the course of our

 

* Stanford Code of Conduct, Administrative Guide 1.1.1 at <https://adminguide.stanford.edu/chapter-

1/subchapter-1/policy-1-1-1>.

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http://www.stanford.edu/dept/legal
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investigation we identified one student who was working with Mr. Singer and Mr. Vandemoer
who submitted false information during the application process. Stanford rescinded that
student’s admission and the credits earned at the University.

Although Mr. Vandemoer’s conduct resulted in donations to the Stanford sailing
team, Stanford views those funds as tainted and is in discussions with the California Attorney
General about an appropriate way for those funds to be used for the public good. Stanford does
not wish to benefit in any way from Mr. Vandemoer’s conduct.

Stanford also recognizes that Mr. Vandemoer took responsibility for his actions
early in the criminal process and that he did not personally receive any payment from the
scheme.

Stanford takes no position regarding any specific sentence that this Court may
impose.

Thank you for your consideration.

Respecthully submitted,

 

Vice PreSident and General Counsel

ce: AUSA Eric Rosen
Maria Galeno and Jacob Sorensen, Pillsbury Winthrop (counsel for Stanford University)

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